
Gtldersleeve, J.
The plaintiff makes an application for leave to sue as a poor person. It appears from the plaintiff’s own papers on this motion that more than three years have passed since issue was joined in the action. Nor does plaintiff offer any excuse or explanation for such gross loches. The suit was actually begun over three years ago, and this application is evidently an afterthought. I am of opinion it should not be granted. Glasberg v. D. D., E. B. &amp; B. Railroad Co., 12 Civ. Pro. R. 50. An application of this nature should .be made upon or soon after the commencement of the action. Ostrander v. Harper, 14 How. Pr. 16. The motion must be denied, but without costs. Motion denied, without costs.
